Case 2:03-cr-20215-.]PI\/| Document 80 Filed 04/27/05 Page 1 of 2 Page|D 144

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IN THE UNITED sTATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEJ§ ;\;)R 27 ;`=;r, l i, q
WESTERN DIVISION

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UNITED sTATES oF AMERICA, W- - ~ f ~'

Plaintiff, Criminal No. 03-202}5-1\/[1

VS.

THOMAS WAYNE CALDWELL,

Defen dan t.

 

ORDER OF DISMISSAL

 

Before the court is the Government’s motion to dismiss Counts One through Ten and
Twelve through Fifteen in this matter. For good cause shown, the motion is grantedl

Entered this X(E day oprril, 2005.

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JITED STATES DISTRICT JUDGE

  

Date: 'V 25 0

Approved by: M

Sblecial Assistant U".S. Attorney

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Honorable J on McCalla
US DISTRICT COURT

